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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON TALCUM                             Civil Action: 3:16-md-2738
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES AND PRODUCTS                               MDL No. 2738
   LIABILITY LITIGATION

   THIS DOCUMENT RELATES TO:
   Deirdre J. Lavallee v. Johnson & Johnson, et al

   Civil Action No.: 3:24-cv-08655-MAS-RLS


                                         NOTICE OF FILING
          Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint and Jury Demand was filed on August 22, 2024, on

  behalf of the plaintiff(s), Deirdre J. Lavallee.

  Dated: August 27, 2024

                                                     Respectfully Submitted by,

                                                     MOTLEY RICE LLC

                                                     /s/ Carmen S. Scott
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2024, I electronically filed the forgoing document with
  the Clerk of the Court using the CM/ECF system which will send notification of such filing to all
  attorneys of records.



                                               MOTLEY RICE LLC

                                               /s/ Carmen S. Scott
                                               Carmen S. Scott
